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              IN THS XINITED STATES DIST
                                                         les of Ga.
                  THE SOUTHERN DISTRICT
                                                         flea
                         SAVANNAH DIVISION




UNITED STATES OF ANERICA,


V.                                            Case No*   CR408-315


MARVIN GOURSON, III,

                  Defendant.



UNITED STATES OF AMERICA,

V.                                            Case No.   CR416>224

EUGENE CURTIS,

                  Defendamt.



                                 ORDER



       Murdoch Walker, II, counsel of record for defendants in the
above-styled cases, has moved for leave of absence. The Court is
mindful that personal and professional obligations require the
absence of coxmsel on occasion. The Court, however, cannot

accommodate its schedule to the thousauids of attorneys who practice
within the Southern District of Georgia.

        Coxmsel may be absent at the times requested. However, nothing
shall prevent these cases from going forward; all discovery shall
Case 4:16-cr-00224-WTM-CLR Document 257 Filed 12/14/17 Page 2 of 2
